UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 COLLIN TRELLY,

                            Plaintiff,
                                                              CERTIFICATE OF SERVICE
       v.

 COUNTY OF MONROE, The SHERIFF of the COUNTY                  Case No.: 13-cv-6248
 OF MONROE, and MONROE COUNTY DEPUTY
 SHERIFF GEIGER,

                            Defendants.



       I hereby certify that on January 13, 2014, I electronically filed the foregoing

INITIAL DISCLOSURES and this CERTIFICATE OF SERVICE with the Clerk of the District

Court using its CM/ECF system, which would then electronically notify the following

CM/ECF participant on this case:

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       I hereby certify that on, the following non-CM/ECF participant was served by mail

with the foregoing:

       None.



                                 /s/ Mallorie C. Rulison
                              _____________________________
                              MALLORIE C. RULISON
